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                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION



   RITE AID OF MICHIGAN, INC.;
   THRIFTY PAYLESS, INC.; and RITE AID
   OF PENNSYLVANIA, LLC,

                       Plaintiffs,

   vs.                                           Case No.:

   RA2 BATTLE CREEK L.L.C; RA2
   HINES, L.L.C; PVP CASTOR, LLC; PVP
   KREWSTOWN, LLC; RA2 TROY, L.L.C;
   RA2 BISHOP, L.L.C; RA2 BOISE-
   FAIRVIEW L.L.C; RA2 BOISE-
   OVERLAND L.L.C; FI 135 BATTLE
   CREEK, LLC; F1 135 HINES, LLC; FI
   135 CASTOR PHILADELPHIA, LLC; FI
   135 KREWSTOWN PHILADELPHIA,
   LLC; FI 135 TROY, LLC; 487 MORRIS
   ASSOCIATES, LLC; and
   ABC CORPORATIONS 1-10,

                      Defendants.
                                                     /


                         COMPLAINT FOR INTERPLEADER

         Plaintiffs Rite Aid of Michigan, Inc., Thrifty Payless, Inc., and Rite Aid of

Pennsylvania, LLC (“Plaintiffs”), by way of Complaint for Interpleader allege as

follows against Defendants: RA2 Battle Creek L.L.C.; RA2 Hines, L.L.C.; PVP
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Castor, LLC; PVP Krewstown, LLC; RA2 Troy, L.L.C.; RA2 Bishop, L.L.C.; RA2

Boise-Fairview L.L.C.; RA2 Boise-Overland L.L.C.; FI 135 Battle Creek, LLC; F1

135 Hines, LLC; FI 135 Castor Philadelphia, LLC; FI 135 Krewstown

Philadelphia, LLC; FI 135 Troy, LLC; 487 Morris Associates, LLC; and ABC

Corporations 1-10.

                                  PARTIES

      1.    Plaintiff Rite Aid of Michigan, Inc., is a Michigan Corporation that

maintains its principal place of business at 30 Hunter Lane, Camp Hill,

Pennsylvania 17011.

      2.    Plaintiff Rite Aid of Pennsylvania, LLC is a Pennsylvania Limited

Liability Corporation, and is a citizen of Pennsylvania, maintaining its

principal place of business at 30 Hunter Lane, Camp Hill, Pennsylvania 17011.

      3.    Plaintiff Thrifty Payless, Inc. is a California Corporation that

maintains its principal place of business at 30 Hunter Lane, Camp Hill,

Pennsylvania 17011.

      4.    Defendants RA2 Battle Creek L.L.C.; RA2 Hines, L.L.C.; PVP Castor,

LLC; PVP Krewstown, LLC; RA2 Troy, L.L.C.; RA2 Bishop, L.L.C.; RA2 Boise-

Fairview L.L.C.; RA2 Boise-Overland L.L.C. (the “RA2 Claimants”) are each

special purpose entities, purportedly owned by or for the benefit of Richard J.

Sabella, and managed by Allerand Capital, L.L.C. The RA2 Claimants purport


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to own real properties leased to Plaintiffs and claim to be entitled to rent

payments for those properties as follows:

           a.    RA2 Battle Creek L.L.C. is, upon information and belief, a

     Delaware limited liability company that maintains its principal place of

     business at c/o Allerand Capital, L.L.C., 675 West Indiantown Road,

     Jupiter, Florida 33458. RA2 Battle Creek L.L.C. purports to own the

     property located at 1434 W Michigan St., Battle Creek, MI 490 (“Battle

     Creek, MI Property”) and is, upon information and belief, a citizen of

     Florida.

           b.    RA2 Hines, L.L.C. is, upon information and belief, a Delaware

     limited liability company that maintains its principal place of business

     at c/o Allerand Capital, L.L.C., 675 West Indiantown Road, Jupiter,

     Florida 33458. RA2 Hines, L.L.C. purports to own the property located at

     629 N Hwy 20, Hines, OR 9778 (“Oregon Property”), and is, upon

     information and belief, a citizen of Florida.

           c.    PVP Krewstown, LLC is, upon information and belief, a

     Delaware limited liability company that maintains its principal place of

     business at c/o Allerand Capital, L.L.C., 675 West Indiantown Road,

     Jupiter, Florida 33458.     PVP Krewstown, LLC purports to own the

     property located at 9280 Krewstown Road, Philadelphia, PA 19115


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    (“Krewstown, Philadelphia Property”), and is, upon information and

    belief, a citizen of Florida.

          d.     PVP Castor, LLC is, upon information and belief. a Delaware

    limited liability company that maintains its principal place of business

    at c/o Allerand Capital, L.L.C., 675 West Indiantown Road, Jupiter,

    Florida 33458. PVP Castor, LLC purports to own the property located at

    7972 Castor Avenue, Philadelphia, PA 19152 (“Castor, Philadelphia

    Property”), and is, upon information and belief, a citizen of Florida.

          e.     RA2 Troy, L.L.C. is, upon information and belief, a Delaware

    limited liability company that maintains its principal place of business

    at c/o Allerand Capital, L.L.C., 675 West Indiantown Road, Jupiter,

    Florida 33458. RA2 Troy, L.L.C. purports to own the property located at

    2971 W. Maple Road, Troy, MI 48084 (“Troy, MI Property”), and is,

    upon information and belief, a citizen of Florida.

          f.     RA2 Bishop, L.L.C. is, upon information and belief,         a

    Delaware limited liability company that maintains its principal place of

    business at c/o Allerand Capital, L.L.C., 675 West Indiantown Road,

    Jupiter, Florida 33458. RA2 Bishop, L.L.C. purports to own the property

    located at 1374 Rocking W. Dr., Bishop, CA 93514 (“California

    Property”), and is, upon information and belief, a citizen of Florida.


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            g.     RA2 Boise-Fairview L.L.C. is, upon information and belief, a

      Delaware limited liability company that maintains its principal place of

      business at c/o Allerand Capital, L.L.C., 675 West Indiantown Road,

      Jupiter, Florida 33458. RA2 Boise-Fairview, L.L.C. purports to own the

      property located at 10600 W Fairview Ave, Boise, ID 83713 (“Fairview,

      Boise Property”), and is, upon information and belief, a citizen of

      Florida.

            h.     RA2 Boise-Overland L.L.C is, upon information and belief, a

      Delaware limited liability company that maintains its principal place of

      business at c/o Allerand Capital, L.L.C., 675 West Indiantown Road,

      Jupiter, Florida 33458. RA2 Boise-Overland, L.L.C. purports to own the

      property located at 5005 W Overland Drive, Boise, ID 83705

      (“Overland, Boise Property”), and is, upon information and belief, a

      citizen of Florida.

      5.    The following Defendants: FI 135 Battle Creek, LLC; F1 135 Hines,

LLC; FI 135 Castor Philadelphia, LLC; FI 135 Krewstown Philadelphia, LLC;

and FI 135 Troy, LLC (the “FI Claimants”), are, upon information and belief,

each Michigan limited liability companies, owned and/or managed by

Bloomfield Capital Asset Management, LLC. The FI Claimants purport to be a

lender that own certain security interests in the Battle Creek, MI Property; the


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Oregon Property; the Castor, Philadelphia Property; the Krewstown,

Philadelphia Property; and the Troy, MI Property. Upon information and

belief, the FI Entities are citizens of Michigan.

      6.     487 Morris Associates, LLC (“487 Morris”) is, upon information

and belief, a Delaware limited liability company that maintains its principle

place of business at 5621 Strand Boulevard, Suite 209, Naples, Florida 34110.

487 Morris purport to be a lender and own certain security interests in the

California Property; the Fairview Boise Property; and the Overland, Boise

Property. Upon information and belief, 487 Morris is a citizen of Florida.

      7.     ABC Corporations 1-10, are companies, currently unknown to

Plaintiffs, that may purport to have an interest in the properties and/or

mortgages.

                           JURISDICTION AND VENUE

      8.     The Court possesses jurisdiction over this action under 28 U.S.C.

§ 1335, because this action involves the rights to certain rent payments valued

at more than $500 (described further below), which is contested among

multiple claimants that are of diverse citizenship (Florida and Michigan).

      9.     Venue is proper in this District under 28 U.S.C. § 1397, because at

least one of the claimants in this action resides in the Eastern District of

Michigan, in particular, in Oakland County, Michigan.


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                          FACTUAL BACKGROUND

      A.    Plaintiffs’ Leases

      10.   This action relates to eight properties: (1) the Battle Creek, MI

Property; (2) the Oregon Property; (3) the Krewstown, Philadelphia Property;

(4) the Castor, Philadelphia Property; (5) the Troy, MI Property; (6) the

California Property; (7) the Fairview, Boise Property; and (8) the Overland,

Boise Property (together, the “Properties”).

      11.   Plaintiffs entered into leases for the Properties from one of the

RA2 Claimants.

      12.   The underlying leases for each of the Properties were entered into

in August 1998.     The leases for seven of the eight Properties expire in

September 2025, but can be extended through August 2030. The term for the

lease for the California Property is currently month-to-month.

      13.   Plaintiffs’ rent obligation for the Properties depends on each

lease, ranging from $16,203 to $36,300 per month. Thus, for the remainder of

the term of the leases, Plaintiffs face potential liability of around $178,761.00

per year.

      B.    The Loans and Residual Value Insurance Policies

      14.   At around the same time as Plaintiffs entered into their leases, the

RA2 Claimants borrowed money from lenders and entered into a Promissory


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Note and Mortgage and Security Agreement, with respect to each of the

Properties (the “Loans”).

       15.    On information and belief, the RA2 Claimants were required

under the Loans to make monthly payments to the lender, followed by a

balloon payment of the remaining amount of the Loans to be due on the

maturity date of the Loans.

       16.    On information and belief, as part of the Loans, the RA2 Claimants

also executed Assignments of Lease and Rents (“ALRs”), which required the

rent payments for the Properties to be used to service the debt under the

Loans and provided that, upon a Loan default by the RA2 Claimants, the

lender could step into the RA2 Claimants’ shoes and exercise the right to

collect and receive all rent payments from the RA2 Claimants’ tenants, i.e.,

Plaintiffs.

       17.    On information and belief, as a condition to the Loans, the RA2

Claimants also were required to obtain a Residual Value Insurance Policy from

Financial Structures Limited (“FSL”), to secure the RA2 Claimants’ obligation

to make the balloon payment.

       18.    On information and belief, under the Residual Value Insurance

Policies, if the RA2 Claimants failed to make the balloon payments, the lender

could submit a claim to FSL for the unpaid amount. FSL would then pay the


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claim and FSL would be subrogated to the lender’s rights under the Loan, with

the lender assigning the Loan and the ALR to FSL or its designated entity.

      19.     On information and belief, at that point FSL could functionally

become the lender and claim it is entitled to enforce the terms of the ALR,

including collecting rent from Plaintiffs.

      20.     On information and belief, as part of the transaction, Plaintiffs,

along with the lender and the RA2 Claimants, entered into a Consent

Agreement for each of the Properties, which directed Plaintiffs to pay rent to

the lender and to follow any rent direction instructions from the lender.

      C.      Competing Demands for Plaintiffs’ Rent Payments.

      21.     On information and belief, the RA2 Claimants have failed to make

the required balloon payments under the Loans with respect to each of the

Properties.

      22.     As a result, on information and belief, the lenders made a claim of

FSL for the balloon payment.

      23.     On information and belief, for each of the Properties, FSL made or

the balloon payment and the lender assigned the Loan and the ALR to FSL (or

a special purpose entity created by FSL for that purpose).




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      24.   On information and belief, FSL assigned the Loans and ALRs for

the California Property; the Fairview Boise Property; and the Overland, Boise

Property to 487 Morris.

      25.   On or about March 25, 2021, Plaintiffs received letters from

487 Morris directing Plaintiffs to pay rent for the California Property; the

Fairview, Boise Property; and the Overland, Boise Property to 487 Morris. A

true and correct copy of the March 25, 2021 letters are attached as Exhibit A.

      26.   On information and belief, FSL assigned the Loans and ALRs for

the Battle Creek, MI Property; the Oregon Property; the Castor, Philadelphia

Property; the Krewstown, Philadelphia Property; and the Troy, MI Property,

to the FI Claimants.

      27.   On or about June 23, 2021, Plaintiffs received letters from the FI

Claimants, directing Plaintiffs to pay rent for the Battle Creek, MI Property; the

Oregon Property; the Castor, Philadelphia Property; the Krewstown,

Philadelphia Property; and the Troy, MI Property to the FI Claimants. True

and correct copies of the June 23, 2021 letters are attached as Exhibit B.

      28.   On or about August 10, 2021, the RA2 Claimants sent Plaintiffs a

letter, a true and correct copy of which is attached as Exhibit C, in which they

purport to have filed court actions relating to the Battle Creek, MI and Troy,

MI Properties, challenging the legality of the of the transactions by which the


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FI Claimants purport to claim their right to rent payments for those two

properties, including the assignment of the loans.

      29.   Upon information and belief, the lawsuits that two of the RA2

Claimants filed in Michigan, and which remain pending, are as follows: (i) RA2

Troy L.L.C. v. FI 135 Troy, LLC, Case No. 2021-189427-CB (Oakland County Cir.

Court, Michigan); and (ii) RA2 Battle Creek LLC v. FI 135 Battle Creek LLC, Case

No. 2021-0000002196-CB (Calhoun County Cir. Court, Michigan).

      30.   The RA2 Claimants also stated that they intend to file similar

lawsuit with respect to the remaining Properties against both the FI Claimants

and 487 Morris.

      31.   In their August 10, 2021 letter, the RA2 Claimants demanded that

Plaintiffs immediately cease paying rent to the FI Claimants and 487 Morris

with respect to the Properties and begin immediately paying rent to the RA2

Claimants for the Properties.

      32.   The   RA2    Claimants    also   demand     that     Plaintiffs   seek

reimbursement of all rents previously paid to the FI Claimants and 487 Morris

with respect to the Properties and to pay those amounts to the RA2 Claimants.

      33.   Upon information and belief, the FI Claimants and 487 Morris

have disputed the validity of the transaction by which the current principals of

the RA2 Claimants obtained their interest in the RA2 entities.


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      34.   Further, the FI Claimants and 487 Morris have disputed the RA2

Claimants’ rent direction notices and have requested that Plaintiffs disregard

the RA2 Claimants’ rent direction notices and continue to pay rent to the FI

Claimants and 487 Morris. The FI Claimants and 487 Morris have pointed to

the Consent Agreements, which give priority to the rent direction notices of

the “lender.”

      35.   However, in the lawsuits filed by the RA2 Claimants, the RA2

Claimants have alleged that FSL’s original purchase of the Loans and

associated mortgage instruments was “void” and, therefore, and that the

subsequent transfer of the Loans to the FI Claimants were void and that the FI

Claimants are “not the holder[s] of the Mortgage[s].” Upon information and

belief, the RA2 Claimants will make similar allegations against 487 Morris in

the lawsuits that it has threatened to file.

      36.   Thus, the RA2 Claimants dispute whether the FI Claimants and

487 Morris can be considered the “lender” as that term is defined in the

Consent Agreements entered into by Plaintiffs, the RA2 Claimants and the

original lender.

      37.   Thus, Plaintiffs are faced with competing demands for their rent

payments, and the potential of liability to either the RA2 Entities or the

FI Claimants / 487 Morris if forced to choose to whom it should pay the rents.


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      38.    Plaintiffs are innocent and neutral stakeholders in the dispute

between the RA2 Entities, on the one hand, and the FI Claimants and 487

Morris on the other hand. Plaintiffs seek to avoid the prospect of liability

because of Defendants’ ongoing dispute with one another.

                                    COUNT I
                                 INTERPLEADER

      39.    Plaintiffs incorporate by reference the preceding paragraphs of

this Complaint as if fully set forth herein.

      40.    Plaintiffs have acted in good faith in filing this interpleader action.

      41.    There is no collusion between Plaintiffs and any of the Defendants

with respect to Plaintiffs’ claims.

      42.    Plaintiffs are under an obligation under their respective leases to

pay monthly rent.

      43.    Plaintiffs are unable to pay their monthly rent without subjecting

themselves to the hazard of liability.

      44.    Pending the dispute between the RA2 Entities, on the one hand,

and the FI Claimants and 487 Morris, on the other hand, regarding which

entity is entitled to receive rent payments for the Properties, Plaintiffs desire

to continue to comply with the terms of their leases and to continue to enjoy




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their rights under the leases, including the quiet enjoyment of the use of the

Properties, unimpeded and undisturbed by Defendants.

      45.   Plaintiffs will file a motion for the deposit of funds into court in

accordance with Fed. R. Civ. P. 67 and E.D. Mich. LR 67.1, seeking to deposit

with the court, their monthly rent payments for the Properties pending a

resolution of the dispute between and among Defendants.

      WHEREFORE,            Plaintiffs   respectfully   demand   judgment   against

Defendants, as follows:

            (a)    Directing Plaintiffs to deposit their rent payments for their

      respective leases for the Properties into the Court’s registry pending a

      determination of Defendants’ respective rights.

            (b)    Directing Defendants to interplead and file pleadings setting

      forth their asserted rights and claims to the rent payments under the

      Plaintiffs’ leases.

            (c)    Restraining Defendants from instituting any action against

      Plaintiffs relating to the rent payments under the leases.

            (d)    Discharging Plaintiffs from liability for all matters in any

      fashion relating to the rent payments under the leases.

            (e)    Entering an Order awarding Plaintiffs’ attorneys’ fees and

      costs incurred in connection with bringing this action.


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                 (f)      Granting such other relief as the Court deems just and

        proper.

                                          Respectfully submitted,

                                          /s/Michael D. Weaver______________________
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